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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA
                                                               CRIMINAL ACTION
VERSUS
                                                               NO. 09-106-JJB
SHAWNA TICKLES


                                   RULING & ORDER
                                   U




       This matter is before the Court on the government’s motion in limine (doc. 77) to

prevent Defendant from introducing lack of specific acts as character evidence.

Defendant filed an opposition. (Doc. 81.) There is no need for oral arguments. For

reasons discussed below, the Court GRANTS the government’s motion.

       The government anticipates Tickles introducing testimony that she has never

been arrested as evidence of her character as a law-abiding citizen. The government

argues that testimony of a lack of instances of bad conduct equates to testimony of

specific instances of good conduct.        And testimony as to specific instances is

inadmissible reputation or opinion testimony. Fed. R. Evid. 405(a).

       As Tickles notes, evidence establishing a defendant’s character as law-abiding is

always relevant, even if the defendant does not take the stand. United States v. Hewitt,

634 F.2d 277, 279 (5th Cir. 1981). That principle, however, addresses a legitimate

purpose of general character evidence, but does not shed light on whether evidence of

a lack of criminal history is admissible as evidence of specific instances.

       Although Fifth Circuit jurisprudence is silent on this issue, other courts have

recognized that testimony of a lack of criminal arrests indirectly amounts to testimony of

specific instances. Gov’t of the V.I. v. Grant, 775 F.2d 508, 512 (3rd Cir. 1985); United
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States v. Morgan, 2000 WL 1622748, *10 (E.D. Pa. 2000). In Grant, the Third Circuit

outlined arguments for and against allowing evidence of a lack of arrests to prove

character. 775 F.2d at 511-12. After weighing the arguments, the court decided that

“inasmuch as the Federal Rules of Evidence provide a clear method of proving

character, we see no reason to stretch them.” Id. This Court agrees and finds that

Tickles may not elicit testimony of her lack of criminal history as character evidence.

       However, Tickles may introduce evidence of her lack of criminal history as

background evidence. See id. at 513 (“Such evidence is routinely admitted without

objection, and testimony that an accused has never been arrested is commonly

admitted as part of this background evidence.”).         As background, such evidence

provides relevant information to the jury in weighing a defendant’s culpability. Id.

       Accordingly, the Court GRANTS the government’s motion in limine (doc. 77) in

so far as Defendant cannot introduce evidence of her lack of a criminal history as

character evidence. She may, however, introduce such evidence as background.

       Signed in Baton Rouge, Louisiana, on December 15th, 2009.



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                                       JUDGEJAMESJ.BRADY
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                                      UNITEDSTATESDISTRICTCOURT
                                       MIDDLEDISTRICTOFLOUISIANA
